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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
UNITED STATES OF AMERICA ORDER

v. S3 24 Cr. 542 (AS)

SEAN COMBS,
a/k/a “Puff Daddy,”
a/k/a “P. Diddy,”
a/k/a “Diddy,”
a/k/a “PD,”
a/k/a “Love,”

Defendant.

Upon the annexed application of JAY CLAYTON, United States Attorney for the
Southern District of New York, for an order pursuant to Title 18, United States Code, Sections
6002 and 6003, compelling EDDY GARCIA to testify and to provide other information at trial in
the matter of United States v. Sean Combs, $3 24 Cr. 542 (AS), in the United States District Court
for the Southern District of New York, and upon the declaration of Assistant United States
Attorney Meredith C. Foster, submitted in support thereof; and it appearing that,

1. EDDY GARCIA is scheduled to appear as a witness at trial in the matter of
United States v. Sean Combs, 83 24 Cr. 542 (AS) in this District. The defendant, Sean Combs,
has been indicted for multiple violations of federal law, including racketeering conspiracy, sex
trafficking, and Mann Act offenses; and,

2. EDDY GARCIA has refused to testify at said trial on the basis of his
privilege against self-incrimination; and,

3. It is the judgment of the United States Attorney that the testimony and other
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information that EDDY GARCIA could give at said trial may be necessary to the public interest;
and,

Upon the approval of the aforesaid application by the Department of Justice, by the
Assistant Attorney General, pursuant to the authority vested in him by Title 18, United States
Code, Section 6003 and 28 C.F.R. 0.175; it is hereby:

ORDERED that, pursuant to Title 18, United States Code, Sections 6002 and 6003,
EDDY GARCIA give testimony and provide other information as to all matters about which he
may be questioned at trial in the matter of United States v. Sean Combs, $3 24 Cr. 542 (AS); and

IT IS FURTHER ORDERED that, pursuant to Title 18, United States Code,
Sections 6002 and 6003, no testimony or other information compelled under this Order, or any
information directly or indirectly derived from such testimony or other information, may be used
against EDDY GARCIA in any criminal case, except a prosecution for perjury, giving a false
statement, or otherwise failing to comply with this Order.

This Order shall become effective only if after the date of this Order EDDY
GARCIA refuses to testify at trial in the matter of United States v. Sean Combs, $3 24 Cr, 542

(AS), or provide other information on the basis of his privilege against self-incrimination.

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The Hon. Arun Subramanian
United States District Judge

Dated: New York, New York
JUNE 2, 2025
